Exhibit A
                                                                trl
                                                        BASSFORD
                                                             -   REMELE

Mork   R.   Brodford
Altorney

612.376-1667
612.7 46.1267 f dx

mbrodf ord@bossf ord.com


September 3,2021



VIA CERTIFIED MAIL
AIG Specialty Insurance Company
175 Water Street
New York, N.Y. 10038

Re           Richard Enrico v. AOM Holdings, LLC
             Minnesota Court File No. 27-CV-20-5065

Dear Sir or Madam

Enclosed herewith and served upon you, via Certified Mail, please find the following:

             1.         Garnishment Summons;
             2.         Two copies of a Non-earnings Garnishment Disclosure Form;
             J.         Exemption Notice; and
             4.         Affidavit of Service.

Thank you for your assistance and cooperation in this matter. If you have any questions, please
feel free to contact me at (612) 376-1667.

                                                            Respectfully,


                                                         4A
                                                         Mark R. B
                                                                          o




/MRB
Encl.

cc:          Richard D. Snyder, Esq. (w/ Encl.)




                  lOO SOUTH sTH STREEI SU|TE   lsOO I   M|NNEAPOLTS, MN   ss4o2-12s4 |   612.333.3000 |   BASSFORD.COM
STATE OF MINNESOTA                                                              DISTRICT COURI

COUNTY OF HENNEPIN                                                FOURTH JUDICIAL DISTzuCT

                                                                     Court File No. 27-CY-20-5065
Richard Enrico,
                                                                               Judge: Edward Wahl
        Plaintiff / Judgment Creditor,

V                                                    NON-EARNINGS GARNISHMENT
                                                             SUMMONS
AOM Holdings, LLC,
                                                       Judgment Amount: $3,000,000.00
        Defendant / Judgment Debtor,                    Unpaid Balance: $3,000,000.00
                                                       Judgment Entered: July 12,2021
and

AIG Specialty Insurance Company,

        Garnishee.




THE STATE OF MINNESOTA TO THE ABOVE-NAMED GARNISHEE:

       YOU ARE HEREBY SUMMONED and required to serve upon the Creditor's attorney
and on the Debtor within 20 days after service of this Garnishment Summons upon you, a written
disclosure of the nonexempt indebtedness, money, or other properly due or belonging to the Debtor
in the above-referenced matter:

       AOM Holdings, LLC,, whose last known mailing          address is:
       16355 36th Avenue N., Suite 700, Plymouth, Minnesota 55446

and owing by you or in your possession or under your control. However, if the garnishment is on
earnings and the Debtor has garnishable earnings, you shall serve the completed disclosure form
on the Creditor's attorney, within ten days of the last payday to occur within the 70 days after the
date of the service of this garnishment summons ."Payday" means the day which you pay earnings
in the ordinary course of business. If the Debtor has no regular paydays, "payday" means the 15th
 day andthe last day of each month.

       Your disclosure need not exceed 110 percent of the amount of the Creditor's claim that
remains unpaid.

         You shall retain garnishable earnings, other indebtedness, money, or other property of the
Debtor in your possession or under your control, in an amount not to exceed 110 percent of the
Creditor's claim until such time as the Creditor causes a writ of execution to be served upon you,
until the Debtor authorizes you in writing to release the property to the Creditor, until the Creditor
authorizes release to the Debtor, upon court ordet, or by operation of law.
       After expiration of the period of time specified in Minn. Stat. $ 571.79 from the date of
service of the garnishment summons, in this case, 180 days, your retention obligation
automatically expires.

       An assignment of wages made by the Debtor within ten days before the service of the first
garnishment summons on a debt is void and any indebtedness to the garnishee incurred with ten
days before the service of the first garnishment summons on a debt may not be set off against
amounts otherwise subject to the garnishment.

                                           EARNINGS

        In the event you are summoned as a garnishee because you owe "earnings" (as defined in
the Earnings Disclosure form attached to this Garnishment Summons, if applicable) to the Debtor,
then you are required to serve upon the Creditor's attorney, a written Earnings Disclosure form
within the time limit set forth above

       In the case of earnings you are further required to retain in your possession all unpaid
nonexempt disposable earnings owed or to be owed by you and earned ol to be earned to the Debtor
within the pay period in which this garnishment summons is served and within all subsequent pay
periods whose paydays (defined above) occur within the 70 days after the date of service of this
garnishment summons.

        Any assignment of earnings made by the Debtor to any party within ten days before the
receipt of the first garnishment on a debt is void. Any indebtedness to you incurred by the Debtor
within the ten days before the receipt of the first garnishment on a debt may not be set off against
amounts otherwise subject to the garnishment.

       You are prohibited by law from discharging or disciplining the Debtor because the Debtor's
earnings have been subject to garnishment.

       This Garnishment Summons includes      :




                  Earnings garnishment (see attached Earnings Disclosure form)

            (X)   Non-earnings garnishment (see attached Non-earnings Disclosure form)

                  Both Earnings and Non-earnings garnishment
                  (see both attached Earnings and Non-earnings Disclosure forms)

                                     NOTICE TO DEBTOR

       A Garnishment Summons    and Notice to Debtor, two copies of a Non-Earnings
Disclosure Form and Worksheet,  and  an Affidavit of Service, copies of which are hereby served
on you, were served upon the Garnishee by delivering copies to the Garnishee. The Garnishee
was paid $ 15.




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                          BassnoRr Rnnrpln
                          A Profes s io nul As s o cicttio n


Dated: September 3,2021   By        44
                          Mark R. Bradford
                                           I
                                                  se40)
                          100 South Fifth Street, Suite                           00
                          Minneapolis, MN 55402
                          Telephone : (612) 333-3000
                          mbradford@bassford. com

                          and

                          John Harper III (#41397)
                          Joshua A. Hasko (#303411)
                          MESSERLI & KRAMER, P.A.
                          100 South Fifth Street, Suite 1400
                          Minneapolis, MN 55402
                          Telephone : (612) 672-3600
                          jharp er @me s s erlikramer. com
                          j hasko   @messerlikramer. com

                          Att or ney s fo r   P   I   aint   iff   G ar ni s ho   r   Ri   ch   ar d Enr   ic   o




                              .1
STATE OF MINNESOTA                                                              DISTzuCT COURT

COLINTY OF HENNEPIN                                                FOURTH JUDICIAL DISTRICT

Richard Enrico,                                                     Court File No. 2l-CY-20-5065
                                                                              Judge: Edward Wahl
         Plaintiff / Judgment Creditor,

V.
                                                       Judgment Amount: $3,000,000.00
AOM Holdings, LLC,                                      Unpaid Balance: $3,000,000.00
                                                       Judgment Entered: July L2,2021
         Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

         Garnishee.




            NON.EARNINGS GARNISHMENT DISCLOSURE FORM


     On the _       day of                  20I_, the time of service of the Garnishment
Summons herein, there was due and owing the Debtor from the third party the following

        (1) Money. Enter on the line below any amounts due and owing the Debtor,              except
earnings, from the garnishee.


        (2) Property. Describe on the line below any personal property, instruments, or papers
 belonging to the Debtor and in the possession of the garnishee.




         (3) Setoff. Enter on the line below the amount of any setoff, defense, lien, or claim which
 the third parly claims against the amount set forth on line (1) above. State the facts by which the
 setofl defense, lien, or claim is claimed. (Any indebtedness to a third party incurred by the Debtor
 within ten days before the receipt of the first execution lely on a debt is void as to the judgment
 creditor.)
        (4) Exemption. Enter on the line below any amounts or property claimed by the Debtor to
be exempt from execution.




        (5) Adverse Interest. Enter on the line below any amounts claimed by other persons by
reason of ownership or interest in the Debtor's property.



        (6) Enter on the line below the total of lines (3), (4), and (5)


        (7) Enter on the line below the difference obtained (never less than zero) when line (6) is
subtracted from the amounts on lines (1) and (2).


        (8) Enter on the line below 110 percent of the amount of the judgment creditor's claim
which remains unpaid.


         (9) Enter on the line below the lesser of line (7) and line (8). You are hereby instructed to
retain this amount only if it is $ i 0 or more.




                                          AFFIRMATION

I,                                          (person signing Affirmation) am the Garnishee or I
am authorized by the Garnishee to complete this Non-Earnings Disclosure, and have done so
truthfully and to the best of my knowledge.

Dated
                                                        Signature

                                                        Title

                                                        Telephone Number




                                                    2
STATE OF MINNESOTA                                                              DISTRICT COURT

COIINTY OF HENNEPIN                                               FOURTH JUDICIAL DISTRICT

                                                                    Court File No. 27-CY-20-5065
Richard Enrico,
                                                                              Judge: Edward Wahl
        Plaintiff / Judgment Creditor,


                                                       Judgment Amount: S3,000,000.00
AOM Holdings, LLC,                                      Unpaid Balance: $3,000,000.00
                                                       Judgment Entered: July 12,,2021
        Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

        Garnishee.




           NON-EARNINGS GARI{ISHMBNT DISCLOSURB FORM


       On the_ day of                        20I , the time of service of the Garnishment
Summons herein, there was due and owing the Debtor from the third party the following

       (1) Money. Enter on the line below any amounts due and owing the Debtor, except
earnings, from the garnishee.


       (2) Property. Describe on the line below any personal property, instruments, or papers
belonging to the Debtor and in the possession of the garnishee.



         (3) Setoff. Enter on the line below the amount of any setoff, defense, lien, or claim which
the third party claims against the amount set forth on line (1) above. State the facts by which the
setoff, defense, lien, or claim is claimed. (Any indebtedness to a third party incurred by the Debtor
within ten days before the receipt of the first execution levy on a debt is void as to the judgment
creditor.)
         (4) Exemption. Enter on the line below any amounts or properly claimed by the Debtor to
be exempt fi'om execution.




       (5) Adverse Interest. Enter on the line below any amounts claimed by other persons by
reason of ownership or interest in the Debtor's properly.



         (6) Enter on the line below the total of lines (3), (4), and (5)


        (7) Enter on the line below the difference obtained (never less than zero) when line (6) is
subtracted from the amounts on lines (1) and (2).


         (8) Enter on the line below 110 percent of the amount of the judgment creditor's claim
which remains unpaid.


         (9) Enter on the line below the lesser of line (7) and line (8). You are hereby instructed to
retain this amount only if it is $ 10 or more.




                                           AFFIRMATION

I,                                         (person signing Affirmation) am the Garnishee or I
am authorized by the Garnishee to complete this Non-Earnings Disclosure, and have done so
truthfully and to the best of my knowledge

Dated:
                                                         Signature

                                                         Title

                                                         Telephone Number




                                                    2
STATE OF MINNESOTA                                                              DISTRICT COURT

COUNTY OF HENNEPIN                                                 FOURTH .IUDICIAL DISTRICT

                                                                      Courl File No. 27-CV-20-5065
Richard Enrico,
                                                                                Judge: Edward Wahl
        Plaintiff / Judgment Creditor,


                                                        Judgment Amount: $3,000,000.00
AOM Holdings, LLC,                                       Unpaid Balance: $3,000,000.00
                                                        Judgment Entered: July l2r202l
        Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

        Garnishee.




                                    EXEMPTTON NOTICB
       A Garnishment Summons is being served upon you. Some of your property may be exempt
and cannot be garnished. The following is a list of some of the more common exemptions. It is not
complete and is subject to section 55 37 of the Minnesota Statutes and other state and federal
laws. The dollar amounts contained in this list are subject to the provisions of section 550.37^
subdivision 4a , al the time of garnishment. If you have questions about an exemption, you should
obtain legal advice.

        (1)   a homestead or the proceeds   from the sale of a homestead;

        (2) household furniture, appliances, phonographs, radios, and televisions up to a total
            current value of $5,850;

        (3)   a manufactured   (mobile) home used as your home;

        (4) one motor vehicle currently worlh less than $2,600 after deducting any security interest;

        (5) farm machinery used by an individual principally engaged in farming, or tools,
            machines, or office furniture used in your business or trade. This exemption is limited
            to $13,000;

        (6) relief based on need. This includes:

                 (i) Minnesota Family Investment Program (MFIP) and Work First Program;
       (ii) Medical Assistance (MA);

       (iii) General Assistance (GA);

       (iv) General Assistance Medical Care (GAMC);

       (v) Emergency General Assistance (EGA);

       (vi) Minnesota Supplemental AiD (MSA);

       (vii) MSA-Emergency Assistance (MSA-EA);

       (viii) Supplemental Security Income (SSI);

       (ix) Energy Assistance; and

       (x) Emergency Assistance (EA);

(7) Social Security benefits;

(8) unemployment benefits, workers' compensation, or veteran's benefits;

(9) an accident, disability, or retirement pension or annuity;

(10) life insurance proceeds;

(11) earnings of your minor child; and

(12) money from a claim for damage or destruction of exempt property (such as household
goods, farm tools, business equipment, a manufactured (mobile) home, or a car).




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                                  AFFIDAVIT OF SERVICE

STATE OF MINNESOTA )
                             )ss
COUNTY OF HENNEPIN )

       Don Kirkwood, ofthe City of Minneapolis, County of Hennepin, inthe State of Minnesota,
being duly sworn, says that on September 3,2021, he served the following:

       1.     Garnishment Summons;
       2.     Non-earnings Disclosure Form and Worksheet (2);
       a
       J.     Non-earnings Garnishment Exemption Notice; and
       4.     Affidavit of Service.

on AIG Specialty Insurance Company, by mailing a copy thereof as Certified Mail, retum receipt
requested, enclosed in an envelope, postage prepaid, and by depositing same in the post office in
Minneapolis, Minnesota.



                                                    Don Kirkwood

Subscribed and sworn to before me
on September 3,2021

 Q*^,,      rv-t         Jo Ztu
Notary Public




                               2t2s
                                                                                                        REDACTED
BASSFORD REMELE            . A PROFESSIONAL ASSOCIATION
AIG lnsurance Company                                                0910312021                            15.00
lnvoice   Date   Invoice    No.    Description                                                          Amount
REDACTED                   -1      Garnishment Summons Fee                                                 1   5.00




                                                                                                          REDACTED

                   BASSFORD REMELE                              BREMER BANK               @
                    A PROFESSIONAL ASSOCIATION                                                        REDACTED
                  lOO SOUTH 5TH STREET, SUITE 15OO
                    MINNEAPOLTS, MN 55402.1254
                                                                 REDACTED
                                                                                                                      o
                                                                                                                       o
                                                                                                                      I
                                                                                                                       3
                                                                                                                      o
                                                                         DATE                          AMOUNT         6
          Fifteen & No/100 Dollars                                          09103t2021                $15.00

PAY                                                                      TWO SIGNATURES REQUTRED OVER $1,000.00       a
TO THE                                                       REDACTED               VOID AFTER 6 MOS.
ORDER
OF
          AIG lnsurance Company                                                                                       fi




                   REDACTED
Exhibit B
September 22, 2021                                                         Cynthia L. Hegarty
                                                                           Direct Dial: (612) 604-6570
                                                                           Direct Fax: (612) 604-6980
                                                                           chegarty@winthrop.com
VIA U.S. MAIL

 Mark R. Bradford                              John Harper III
 Bassford Remele                               Joshua A. Hasko
 100 South 5th Street, Suite 1500              Messerli & Kramer, P.A.
 Minneapolis, MN 55402                         100 South Fifth Street, Suite 1400
                                               Minneapolis, MN 55402

 David R. Marshall                             AOM Holdings, LLC
 Leah C. Janus                                 16355 36th Avenue North, Suite 700
 Rachel L. Dougherty                           Plymouth, MN 55446
 Fredrikson & Byron, P.A.
 200 South Sixth Street, Suite 4000
 Minneapolis, MN 55402


Re:     Richard Enrico v. AOM Holdings, LLC (Court File No. 27-CV-20-5065)
        Garnishee: AIG Specialty Insurance Company

Dear Parties:

Enclosed and served upon you, please find the following documents:

        1.      Non-Earnings Garnishment Disclosure Form; and

        2.      Affidavit of Service.

Very truly yours,

WINTHROP & WEINSTINE, P.A.

/s/Cynthia L. Hegarty

Cynthia L. Hegarty

Enclosures
22534622v1
 STATE OF MINNESOTA                                                 DISTRICT OF MINNESOTA

 COUNTY OF HENNEPIN                                             FOURTH JUDICIAL DISTRICT

                                                                   Court File No. 27-CV-20-5065
 Richard Enrico,                                                             Judge: Edward Wahl
               Plaintiff / Judgment Creditor,

 v.
                                                             Judgment Amount: $3,000,000.00
 AOM Holdings, LLC,                                           Unpaid Balance: $3,000,000.00
            Defendant / Judgment Debtor,                     Judgment Entered: July 12, 2021

 and

 AIG Specialty Insurance Company,
               Garnishee.

                 NON-EARNINGS GARNISHMENT DISCLOSURE FORM

        On the 15th day of September, 2021, the time of service of the Garnishment Summons
herein, there was due and owing the Debtor from the garnishee the following:

       (1)     Money. Enter on the line below any amounts due and owing the Debtor, except
earnings, from the garnishee.

There are no amounts due and owing from Garnishee to Debtor. Garnishee and Debtor are parties
to a contract of insurance (the “Policy”). The Policy does not provide coverage for the Judgment
entered in favor of Judgment Creditor.

       (2)     Property. Describe on the line below any personal property, instruments, or papers
belonging to the Debtor and in the possession of the garnishee.

None.

        (3)    Setoff. Enter on the line below the amount of any setoff, defense, lien, or claim
which the third party claims against the amount set forth on lines (1) and (2) above. State the facts
by which the setoff, defense, lien, or claim is claimed. (Any indebtedness to a third party incurred
by the Debtor within ten days before the receipt of the first execution levy on a debt is void as to
the judgment creditor.)

Garnishee has no liability to Judgment Creditor under this garnishment because, among other
things: (a) Garnishee had no duty to defend or indemnify its insured, AOM Holdings, LLC (the
“Insured”) under the Policy for the claims asserted against it by the Judgment Creditor and, thus,
no coverage for the Judgment Creditor’s claims against the Insured exists; (b) even if there was
coverage (and there is not), the Judgment is not valid or enforceable because its terms are not
reasonable and prudent, or, if the terms were reasonable and prudent, the Judgment arose from a
settlement that did not properly allocate liability among purportedly covered and uncovered
claims; (c) the Judgment is not valid or enforceable because it was obtained through fraud or
collusion between the Insured and the Judgment Creditor; and (d) the Judgment is otherwise not
valid or enforceable.

        (4)    Exemption. Enter on the line below any amounts or property claimed by the Debtor
to be exempt from execution.

N/A.

       (5)    Adverse Interest. Enter on the line below any amounts claimed by other persons by
reason of ownership or interest in the Debtor’s property.

None known.

         (6)    Enter on the line below the total of lines (3), (4) and (5).

$0.

        (7)     Enter on the line below the difference obtained (never less than zero) when line (6)
is subtracted from the sum of lines (1) and (2).

$0.

       (8)    Enter on the line below 110 percent of the amount of the creditor’s claim which
remains unpaid.

$3,300,000.00

        (9)     Enter on the line below the lesser of line (7) and line (8). You are hereby instructed
to retain this amount only if it is $10 or more.

$0.

                                          AFFIRMATION

      I, Henry Nicholls, am the Garnishee or I am authorized by the Garnishee to complete this
Non-Earnings Disclosure, and have done so truthfully and to the best of my knowledge.



Dated:         9/22/2021

                                                        Henry Nicholls
                                                        Assistant General Counsel, Litigation
                                                        Financial Lines
                                                        American International Group, Inc.
                                                        28 Liberty Street, 22nd Floor
                                                        New York, NY 10005
                                                        Telephone: (212) 458-1493
22490438v3


                                                   2
 STATE OF MINNESOTA                                                 DISTRICT OF MINNESOTA

 COUNTY OF HENNEPIN                                             FOURTH JUDICIAL DISTRICT

                                                                   Court File No. 27-CV-20-5065
 Richard Enrico,                                                             Judge: Edward Wahl
               Plaintiff / Judgment Creditor,

 v.
                                                             Judgment Amount: $3,000,000.00
 AOM Holdings, LLC,                                           Unpaid Balance: $3,000,000.00
            Defendant / Judgment Debtor,                     Judgment Entered: July 12, 2021

 and

 AIG Specialty Insurance Company,
               Garnishee.

                                    AFFIDAVIT OF SERVICE


        I, Theresa N. Cooke, state that I am at least 18 years of age and that on September 22, 2021,
I served the paper(s) listed below upon the party or parties listed below by causing a true and
correct copy of each document to be placed in an envelope addressed as shown below and by
having the envelope(s) deposited, with sufficient postage, in the United States Mail Post Office
located in the City of Minneapolis in the State of Minnesota.
       Documents:
       1.         Non-Earnings Garnishment Disclosure Form; and
       2.         Affidavit of Service.

       Parties:
 Mark R. Bradford                                  John Harper III
 Bassford Remele                                   Joshua A. Hasko
 100 South 5th Street, Suite 1500                  Messerli & Kramer, P.A.
 Minneapolis, MN 55402                             100 South Fifth Street, Suite 1400
                                                   Minneapolis, MN 55402

 David R. Marshall                                 AOM Holdings, LLC
 Leah C. Janus                                     16355 36th Avenue North, Suite 700
 Rachel L. Dougherty                               Plymouth, MN 55446
 Fredrikson & Byron, P.A.
 200 South Sixth Street, Suite 4000
 Minneapolis, MN 55402
I declare under penalty of perjury that everything that I have stated in this document is true and
correct. Minn. Stat. § 358.116.

Dated: September 22, 2021                           /s/Theresa N. Cooke
Hennepin County, Minnesota                          Legal Administrative Assistant
                                                    Winthrop & Weinstine, P.A.
                                                    225 South Sixth Street, Suite 3500
                                                    Minneapolis, MN 55402
                                                    Tel: 612-604-6400
                                                    Email: tcooke@winthrop.com
22534649v1




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Exhibit C
                                          27-CV-20-5065
                                                                                               Filed in District Court
                                                                                                 State of Minnesota
                                                                                               10/12/2021 3:54 PM




STATE OF MINNESOTA                                                         DISTRICT COURT

COUNTY OF HENNEPIN                                            FOURTH JUDICIAL DISTRICT


Richard Enrico,                                                 Court File No. 27-CV-20-5065
                                                                       Judge: Edward T. Wahl
       Plaintiff / Judgment Creditor,

v.                                                        NOTICE OF APPEARANCE
                                                               OF COUNSEL
AOM Holdings, LLC,

       Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

       Garnishee.



        PLEASE TAKE NOTICE that Mark R. Bradford and James C. Kovacs of Bassford

Remele, A Professional Association, have been retained by and shall appear as counsel of record

for and on behalf of Plaintiff / Judgment Creditor Richard Enrico together with John Harper, III,

Joshua A. Hasko, and Molly R. Hamilton Cawley in the above-captioned case.


                                            BASSFORD REMELE
                                            A Professional Association


Dated: October 12, 2021                     By s/ Mark R. Bradford
                                            Mark R. Bradford (MN #335940)
                                            James C. Kovacs (MN #397536)
                                            100 South 5th Street, Suite 1500
                                            Minneapolis, MN 55402
                                            Telephone: (612) 333-3000
                                            mbradford@bassford.com
                                            jkovacs@bassford.com

                                            and
27-CV-20-5065
                                                Filed in District Court
                                                  State of Minnesota
                                                10/12/2021 3:54 PM




  John Harper III (MN #41397)
  Joshua A. Hasko (MN #303471)
  Molly R. Hamilton Cawley (MN #349781)
  MESSERLI & KRAMER, P.A.
  100 South 5th Street, Suite 1400
  Minneapolis, MN 55402
  Telephone: (612) 672-3600
  jharper@messerlikramer.com
  jhasko@messerlikramer.com
  mhamilton@messerlikramer.com

  Attorneys for Plaintiff / Judgment Creditor
  Richard Enrico




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                                         27-CV-20-5065
                                                                                           Filed in District Court
                                                                                             State of Minnesota
                                                                                           10/12/2021 4:12 PM




STATE OF MINNESOTA                                                       DISTRICT COURT

COUNTY OF HENNEPIN                                          FOURTH JUDICIAL DISTRICT

                                                               Court File No. 27-CV-20-5065
Richard Enrico,
                                                                      Judge: Edward T. Wahl
        Plaintiff / Judgment Creditor,

v.
                                                NOTICE OF MOTION AND MOTION
AOM Holdings, LLC,

        Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

        Garnishee.


TO:    DEFENDANT AND JUDGMENT DEBTOR ABOVE-NAMED AND ITS COUNSEL
       OF RECORD.

       GARNISHEE ABOVE-NAMED AND ITS COUNSEL OF RECORD.

                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that Plaintiff and Judgment Creditor, Richard Enrico, by and

through his undersigned counsel, will bring the following motion on for hearing before the

Honorable Edward T. Wahl, Judge of Hennepin County District Court, at a date and time to be

determined.

                                         MOTION

       Plaintiff and Judgment Creditor, Richard Enrico, hereby moves the Court for an Order

making Garnishee AIG Specialty Insurance Company a party to this civil action and granting

Enrico leave to file a supplemental complaint against the Garnishee pursuant to Minn. Stat. §

571.75, Subd. 4.
                                         27-CV-20-5065
                                                                                            Filed in District Court
                                                                                              State of Minnesota
                                                                                            10/12/2021 4:12 PM




       This motion is based upon all of the records, files, and proceedings herein, the legal

memoranda filed herewith, the Declaration of Mark R. Bradford and corrresponding exhibits, and

the arguments of counsel.

                                           BASSFORD REMELE
                                           A Professional Association

Dated: October 12, 2021                    By s/ Mark R. Bradford
                                           Mark R. Bradford (MN #335940)
                                           James C. Kovacs (MN #397536)
                                           100 South 5th Street, Suite 1500
                                           Minneapolis, MN 55402
                                           Telephone: (612) 333-3000
                                           mbradford@bassford.com
                                           jkovacs@bassford.com

                                           John Harper III (MN #41397)
                                           Joshua A. Hasko (MN #303471)
                                           Molly R. Hamilton Cawley (MN #349781)
                                           MESSERLI & KRAMER, P.A.
                                           100 South 5th Street, Suite 1400
                                           Minneapolis, MN 55402
                                           Telephone: (612) 672-3600
                                           jharper@messerlikramer.com
                                           jhasko@messerlikramer.com
                                           mhamilton@messerlikramer.com

                                           Attorneys for Plaintiff / Judgment Creditor
                                           Richard Enrico




                                              2
                                           27-CV-20-5065
                                                                                                Filed in District Court
                                                                                                  State of Minnesota
                                                                                                10/12/2021 4:12 PM




STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF HENNEPIN                                              FOURTH JUDICIAL DISTRICT

                                                                  Court File No. 27-CV-20-5065
Richard Enrico,
                                                                         Judge: Edward T. Wahl
        Plaintiff / Judgment Creditor,

v.
                                              PLAINTIFF’S MEMORANDUM OF LAW IN
AOM Holdings, LLC,                            SUPPORT OF HIS MOTION TO MAKE AIG
                                                A PARTY AND FOR LEAVE TO FILE A
        Defendant / Judgment Debtor,               SUPPLEMENTAL COMPLAINT

and

AIG Specialty Insurance Company,

        Garnishee.


                                         INTRODUCTION

       Richard Enrico is seeking to collect on his three-million-dollar judgment against

Defendant, AOM Holdings, LLC. Enrico commenced this action against AOM, alleging that

through certain misrepresentations regarding the financial condition of the company, AOM

induced Enrico to invest three-million-dollars in the company under the auspice that Enrico would

receive quarterly dividends as a return on his investment. No dividends were ever paid. The

financial condition of AOM, and its purported ability to perform, were negligently misrepresented,

giving rise to damages substantially in excess of $3,000,000.00. Enrico then sued AOM. After

AOM’s insurer—AIG Specialty Insurance Company—denied coverage, the parties entered into a

Miller-Shugart settlement.

       On September 3, 2021, and pursuant to the terms of the Miller-Shugart settlement, Enrico

served AIG Specialty Insurance Company with a Garnishment Summons and a Non-Earnings

Garnishment Disclosure Form. On September 22, 2021, AIG returned the Disclosure Form,
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asserting that “[t]here are no amounts due and owing from Garnishee to Debtor,” because AIG’s

policy “does not provide coverage for the Judgment.” (Bradford Dec. Ex. A.)

       Under Minn. Stat. § 571.75, subd. 4, when a garnishee denies liability for a judgment, the

creditor may move the court for an order making the garnishee a party to the civil action and

granting the creditor leave to file a supplemental complaint against the garnishee directly. That is

what Enrico seeks to do in this case. Because AIG denies that it is liable to satisfy the judgment

entered against its insured, and Enrico has met the minimal burden of demonstrating probable

cause—i.e., that it is possible that coverage exists—the Court should grant his motion and issue

an Order making AIG a party to this action and granting Mr. Enrico leave to file a supplemental

complaint.

                                DOCUMENTS RELIED UPON

       In support of his motion, Enrico relies upon the pleadings, files, and records herein, as well

as the Declaration of Mark R. Bradford (“Bradford Dec.”), which contains the following exhibits:

       Exhibit A:      AIG’s Non-Earnings Garnishment Disclosure Form;

       Exhibit B:      Directors & Officers Liability Insurance, Employment Practices Liability
                       Insurance, Fiduciary Liability Insurance (effective 11/08/16-11/08/18);

       Exhibit C:      Directors & Officers Liability Insurance, Employment Practices Liability
                       Insurance, Fiduciary Liability Insurance (effective 11/08/18-11/08/20);

       Exhibit D:      Correspondence between AOM and AIG relating to the Enrico lawsuit;

       Exhibit E:      Miller-Shugart Agreement and Stipulation for Entry of Judgment;

       Exhibit F:      (Proposed) Supplemental Complaint in Garnishment.

                                             FACTS

  I.   Background.

       Defendant AOM, through a wholly owned subsidiary company, operates a nation-wide

advertising, out of home advertising, and digital media business. (Compl., ¶ 5.) In 2016, Enrico


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was approached by Tony Jacobson, then CEO of Defendant AOM, about a potential opportunity

to loan money to AOM on favorable terms. (Id., ¶ 6.) Ultimately, however, instead of the

transaction being designed as a loan from Enrico to AOM, AOM structured the deal so Enrico

would receive 3,000 Class B Units, which would entitle Enrico to a 10% annual dividend paid

quarterly in cash. 10. (Id., ¶ 9.) Based on various representations, Enrico justifiably believed he

was receiving the same benefit (10% interest on his $3 million loan), just through a different

means. (Id., ¶ 10.) Two other individuals, Mr. Jacobson and Mr. Ploen, made similar investments.

AOM, however, never paid any cash dividends to the Class B Unit holders, nor did AOM repay

any of Enrico’s principal. (Id., ¶ 21.)

         AOM negligently misrepresented information in connection with the sale, as well as in

connection with the financial condition of the company prior to closing and the ability to perform.

Thus, after independent review of the matter, the parties believed that it was reasonably likely that

Mr. Enrico could be awarded damages, prejudgment interest, and taxable costs materially in excess

of $3,000,000.00, as a result of AOM’s negligent misrepresentation, if Mr. Enrico’s claim was

submitted to an impartial factfinder, empowered to hear the issue of damages. (See, Bradford Dec.

Ex E.)

         Enrico initiated this lawsuit against AOM by Complaint dated February 27, 2020 (Compl.,

filed April 1, 2020). A copy of Enrico’s complaint against AOM was forwarded to AIG on March

6, 2020. (Bradford Dec. Ex D.) On March 17, 2020, AIG sent a letter to Dale Kopel, Vice

President—Finance, of AOM. (Id.) In the letter, AIG tacitly acknowledged that, under the terms

of its D&O Coverage Section, there was an initial grant of coverage for the allegations contained

in the Enrico Complaint. (Id.) AIG, however, indicated that it was further investigating whether

Exclusion 4(h) was applicable to preclude coverage. (Id.) AIG reiterated its coverage position in a




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letter dated December 7, 2020, stating, “AIG Specialty has reserved the right to contend that

Exclusion 4(h) bars coverage,” if AIG could establish that the three lawsuits—Enrico, Jacobson,

and Ploen—were not “instigated and continued independent of, and without the active solicitation,

active assistance or active participation of, or intervention of, and Company or any Executive of a

Company.” (Id.) AIG further explained its position that, “if Mr. Jacobson is coordinating his efforts

with Mr. Ploen and Mr. Enrico in bringing these three lawsuits, coverage for all of these matters

would be precluded by Exclusion 4(h).” (Id.)

       On June 30, 2021, Mr. Enrico and AOM entered into a Miller-Shugart settlement

agreement. (Bradford Dec. Ex. E.) The same day, the parties filed a Stipulation for Order for

Judgment with the Court. (Id.) On July 12, 2021, judgment was entered, but not docketed, in Mr.

Enrico’s favor, against AOM, in the amount of $3,000,000.00.

 II.   Policy Provisions.

       AIG issued two consecutive two-year policies of insurance to AOM that were in effect

from November 8, 2016 to November 8, 2020. Both policies provided the following coverage:

                                             *   *    *

       This D&O Coverage Section shall pay the Loss of the Company arising from a:

       (i)     Claim made against the Company, or

       (ii)    Claim made against an Individual Insured,

       For any Wrongful Act, but, in case of Coverage B(ii) above, only when and to the
       extent that the Company has indemnified the Individual Insured for such Loss. The
       Insurer shall, in accordance with and subject to Clause 7 of this D&O Coverage
       Section, advance Defense Costs of such prior to its final disposition.

                                             *   *    *

The D&O Coverage Section of each policy also included the following exclusion:

                                             *   *    *



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       the Insurer shall not be liable to make any payment for Loss in connection with that
       portion of any Claim made against an Insured:

       (h)     which is brought by or on behalf of a Company or any Executive of a
               Company; or which is brought by any security holder, creditor or other
               interest holder of the Company (other than an Employee security holder),
               whether directly or derivatively, unless such security holder’s, creditor’s or
               other interest holder’s Claim is instigated and continued independent of, and
               without the active solicitation, active assistance, or active participation of,
               or intervention of, any Company or any Executive of a Company; provided,
               however, this exclusion shall not apply to:

       ...

               (iii)   Any Claim brought by any former Executive of a Company who has
                       not served in such capacity for a Company for at least two (2) years
                       prior to such Claim being first made against any person . . . .

(Bradford Dec. Ex. B at 31, 40; Ex. C at 31, 42–43.)

                                     LEGAL STANDARDS

  I.   Motion to add Garnishee as a party and for leave to file supplemental complaint
       under Minn. Stat. § 571.75, subd. 4.

       Minnesota courts historically have permitted, and continue to permit, creditors to recover

on an insurance policy through garnishment proceedings following a Miller-Shugart settlement.

See, e.g., McGlothlin v. Steinmetz, 751 N.W.2d 75, 79 (Minn. 2008); Buysse v. Bauman-Furrie

Co., 448 N.W.2d 865, 870–71 (Minn. 1989).

       The purpose of garnishment proceedings is to reach property of a defendant in the hands

of a third party (the garnishee) and apply it to satisfy a judgment. Buysse, 448 N.W.2d at 870.

Garnishment is a statutory remedy that begins with the service of a garnishment summons and

continues with the service of a supplemental complaint. See Minn. Stat. § 571.72, subd. 2. The

garnishment summons is accompanied by a garnishment disclosure form that the garnishee must

complete, disclosing whether it is indebted to or holds money or other property owing to the debtor.




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Minn. Stat. §§ 571.75, subd. 1; 571.78. In cases where the garnishee denies liability, the creditor

may move the court for “for an order making the garnishee a party to the civil action and granting

the creditor leave to file a supplemental complaint against the garnishee and debtor.” Minn. Stat.

§ 571.75, subd. 4. “If probable cause is shown, the motion shall be granted.” Id. When the facts

are not disputed, probable cause is a question of law. See, e.g., McGlothlin, 751 N.W.2d at 79–81.

       The garnishment statute does not define “probable cause.” But the Minnesota Supreme

Court has defined the term to broadly mean “some showing by evidence which fairly and

reasonably tends to show the existence of the facts alleged.” McGlothlin, 751 N.W.2d at 81

(quoting Gulbrandsen v. Pelto, 205 Minn. 607, 287 N.W. 116, 117 (1939)). Because the probable-

cause determination is not a ruling on the merits, but instead a decision as to whether the creditor

may litigate whether the garnishee is liable for the debt, the standard is extremely low: at the

probable-cause stage, Enrico need only show grounds “for believing that [AIG] might be held

liable under the policy involved” and that it is “possible that [AIG is] liable for the debt.” Id.

(emphasis in the original); see also Poor Richard, Inc. v. Chas Olson & Sons & Wheel Serv., 380

N. W.2d 225 (Minn. App. 1986).

 II.   Interpretation of Insurance Policies.

       The interpretation of an insurance policy and its application to the facts in a case are

questions of law. Am. Fam. Ins. Co. v. Walser, 628 N.W.2d 605, 609 (Minn. 2015). When

construing insurance policies, courts apply general principles of contract interpretation. Lobeck v.

State Farm Mut. Auto. Ins. Co., 582 N.W.2d 246, 249 (Minn. 1998). Specific to the context of

insurance, however, courts are to resolve ambiguous terms against the insurer, and construe such

terms in favor of providing coverage to the insured. See Engineering & Const. Innovations, Inc. v.

L.H. Bolduc Co., Inc., 825 N.W.2d 695 (Minn. 2013). Moreover, “[i]nsurance-exclusion clauses




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are strictly interpreted against the insurer. An insurer that denies coverage because of a policy

exclusion bears the burden of proving that the exclusion applies.” Minnesota Prop. Ins. v. Slater,

673 N.W.2d 194, 196 (Minn. Ct. App. 2004).

                                            ARGUMENT

  I.    The court should grant Mr. Enrico’s motion because he has established probable
        cause.

        The statutory procedure for adding a garnishee as a party, and for granting leave to assert

a supplemental complaint, is relatively straightforward. Under Minn. Stat. § 571.75, subd. 4, if the

garnishee denies liability, then, with a showing of probable cause, the creditor shall be entitled to

add the garnishee to the action, and shall be granted leave to file a supplemental complaint. That

is what we have in this case.

        Mr. Enrico has a $3,000,000.00 judgment against AOM. At all times relevant to this action,

AOM was insured by AIG. Mr. Enrico served a Garnishment Summons and Non-earnings

Garnishment Disclosure Form on AIG. AIG disclaimed liability by denying coverage.

        At this stage, pursuant to Minn. Stat. § 571.75, Mr. Enrico need only show grounds “for

believing that [AIG] might be held liable under the policy involved” and that it is “possible that

[AIG is] liable for the debt,” in order for the Court to grant the motion. That is to say, if it is even

“possible” that coverage exists, then the Court should grant the present motion, make AIG a party

to this action, and grant Mr. Enrico leave to file a supplemental complaint. Here, it is certainly

possible—indeed it is likely—that AIG’s policy provides coverage for the judgment against AOM.

        Specifically, in this case, AIG has taken the position that AOM is not covered for Mr.

Enrico’s claims and resulting judgment based only a single policy exclusion: Exclusion 4(h).

Importantly, AIG does not dispute that the D&O Coverage Section provides, at least, an initial




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grant of coverage. Therefore, it will be AIG’s burden to establish the factual predicate of the

exclusion it has invoked to bar coverage. Coverage will be found if AIG cannot meet its burden.

       Exclusion 4(h) has several parts, none of which apply. First, Exclusion 4(h) excludes

coverage for claims which are “brought by or on behalf of a Company or any Executive of a

Company.” (Bradford Dec. Ex. B at 4; Ex. C at 42–43.) Enrico is not, and never has been, an

executive of AOM, and AOM has never contended that he is.

       Second, Exclusion 4(h) excludes coverage for claims “brought by any security holder,

creditor or other interest holder of the Company (other than an Employee security holder), whether

directly or derivatively, unless such security holder’s, creditor’s or other interest holder’s Claim is

instigated and continued independent of, and without the active solicitation, active assistance, or

active participation of, or intervention of, any Company or any Executive of a Company.” (Id.)

(emphasis added). At worst, then, the policy does not cover claims that are brought with the

assistance of, or in coordination with, AOM or its executives. This exclusion does not exclude

coverage for claims that are brought independently by a claimant, such as Enrico, without any

assistance or coordination from AOM.

       Mr. Enrico is the sole Plaintiff in this case. His case is not tied to Jacobson or Ploen’s

claims. AIG’s contention that these three separate plaintiffs were coordinating their efforts is

highly speculative, vehemently disputed, and at worst creates only a question of fact as to

coverage—an issue on which AIG will bear the burden of proof. Thus, AIG cannot contend at this

stage that Exclusion 4(h) applies as a matter of law. Indeed, its application is questioned and

disputed. It is certainly possible (indeed likely) that the exclusion does not apply.

       Finally, the exclusion further provides that it shall not apply to: “[a]ny Claim brought by

any former Executive of a Company who has not served in such capacity for a Company for at




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least two (2) years prior to such Claim being first made against any person.” (Id.) Based upon this

exception to the exclusion, even if Mr. Enrico were coordinating his case with Jacobson and/or

Ploen—which, again, is highly disputed—then there would be a fact question as to when those

individuals were last considered executives at AOM. If they had not been executives for two years

prior to Mr. Enrico’s Complaint, then Exclusion 4(h) would be entirely inapplicable. This is

another “possible” avenue for coverage, which produces probable cause to grant the present

motion at this stage.

                                        CONCLUSION

       Mr. Enrico has a judgment against AOM for $3,000,000.00. AIG disputes that it must

indemnify its insured for the judgment. It will be AIG’s burden to establish the applicability of

Exclusion 4(h) to preclude coverage. At this point, probable cause exists that AOM may be covered

for the judgment, that AIG will ultimately be responsible for the judgment. AIG does not dispute

that coverage is available under the D&O Coverage Section but has instead invoked a fact-

dependent exclusion. This gives rise to probable cause that coverage may exist. Thus, pursuant to

Minn. Stat. § 571.75, Subd. 4, the Court should grant Mr. Enrico’s motion, make AIG a party to

this action, and grant Mr. Enrico leave to file a supplemental complaint.




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                            Respectfully submitted,

                            BASSFORD REMELE
                            A Professional Association

Dated: October 12, 2021     By s/ Mark R. Bradford
                            Mark R. Bradford (MN #335940)
                            James C. Kovacs (MN #397536)
                            100 South 5th Street, Suite 1500
                            Minneapolis, MN 55402
                            Telephone: (612) 333-3000
                            mbradford@bassford.com
                            jkovacs@bassford.com

                            John Harper III (MN #41397)
                            Joshua A. Hasko (MN #303471)
                            Molly R. Hamilton Cawley (MN #349781)
                            MESSERLI & KRAMER, P.A.
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                            jharper@messerlikramer.com
                            jhasko@messerlikramer.com
                            mhamilton@messerlikramer.com

                            Attorneys for Plaintiff / Judgment Creditor
                            Richard Enrico




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STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF HENNEPIN                                             FOURTH JUDICIAL DISTRICT

                                                                 Court File No. 27-CV-20-5065
Richard Enrico,
                                                                        Judge: Edward T. Wahl
        Plaintiff / Judgment Creditor,

v.
                                                           DECLARATION OF
AOM Holdings, LLC,                                        MARK R. BRADFORD

        Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

        Garnishee.


       MARK R. BRADFORD, being first duly sworn, states and declares as follows:

       1.     I am one of the attorneys representing the Plaintiff and Judgment Creditor, Richard

Enrico, in this matter. I submit this Declaration in support of Mr. Enrico’s Motion for Leave to

Make AIG a Party and to File a Supplemental Complaint.

       2.     Attached hereto as Exhibit A is a true and correct copy of AIG’s Non-Earnings

Garnishment Disclosure Form.

       3.     Attached hereto as Exhibit B is a true and correct copy of the following policy:

Directors & Officers Liability Insurance, Employment Practices Liability Insurance, Fiduciary

Liability Insurance (effective 11/08/16-11/08/18). This policy is being filed under seal because

AOM produced it as “confidential” under the Protective Order in this case.

       4.     Attached hereto as Exhibit C is a true and correct copy of the following policy:

Directors & Officers Liability Insurance, Employment Practices Liability Insurance, Fiduciary
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Liability Insurance (effective 11/08/18-11/08/20). This policy is being filed under seal because

AOM produced it as “confidential” under the Protective Order in this case.

       5.      Collectively attached hereto as Exhibit D are true and correct copies of

correspondence exchanged between AOM and AIG related to Mr. Enrico’s lawsuit.                This

correspondence is being filed as confidential because AOM produced it as “confidential” under

the Protective Order in this case.

       6.      Attached hereto as Exhibit E is a true and correct copy of the Miller-Shugart

Agreement and Stipulation for Entry of Judgment entered into between Mr. Enrico and AOM.

This Agreement and Stipulation is being filed under seal because it is “confidential,” pursuant to

the terms of the Agreement.

       7.      Attached hereto as Exhibit F is a true and correct copy of Mr. Enrico’s proposed

Supplemental Complaint in Garnishment.

       THIS IS THE END OF MY DECLARATION.


Dated: October 12, 2021                              By:   s/ Mark R. Bradford
                                                             Mark R. Bradford (#335940)




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                EXHIBIT A


    TO DECLARATION OF MARK R. BRADFORD
IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE
      TO MAKE AIG A PARTY AND TO FILE A
          SUPPLEMENTAL COMPLAINT
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 STATE OF MINNESOTA                                                  DISTRICT OF MINNESOTA

 COLINTY OF HENNEPIN                                             FOURTH JUDICIAL DISTRICT

                                                                    Court File No. 27-CV-20-5065
 Richard Enrico,                                                              Judge: Edward Wahl
               Plaintiff / Judgment Creditor,


                                                              Judgment Amount: $3,000,000.00
 AOM Holdings, LLC,                                            Unpaid Balance: $3,000,000.00
                 Defendant / Judgment Debtor,                 Judgment Entered: July 12,2021

 and

 AIG Specialty Insurance Company,
                 Garnishee.

                 NON.EARNINGS GARNISHMENT DISCLOSURB FORM

        On the 15th day of September,202l, the time of service of the Garnishment Summons
herein, there was due and owing the Debtor from the garnishee the following:

        (l)    Money. Enter on the line below any amounts due and owing the Debtor, except
eamings, from the garnishee.

There are no amounts due and owing from Garnishee to Debtor. Garnishee and Debtor are parties
to a contract of insurancg (tle ?oltavL fhe folsy lqe!trot provide coverage for the Judgment
entered in favor of Judsment Creditor.

       (2) Property. Describe on the line below any personal property, instruments, or papers
belonging to the Debtor and in the possession of the garnishee.

None.

        (3) Setoff. Enter on the line below the amount of any setoff, defense, lien, or claim
which the thirci party claims against the amount set forth on lines (1) and (2) above. State the facts
by which the setoff, defense, lien, or claim is claimed. (Any indebtedness to a third party incurred
by the Debtor within ten days before the receipt of the first execution levy on a debt is void as to
the judgment creditor.)

Garnishee has no liability to Judgment Creditor qnder this garnishment because, among other
thines: (a) Garnishee had no duty to defend or indemnify its insured. AOM Holdings. LLC (the
"Insured") under the Policy for the claims asserted aqainst it by the Judgment Creditor and. thus.
no coverage for the Judgment Creditor's claims against the Insured exists; (b) even if there was
coverage (and there is not), the Judgment is not valid or enforceable because its terms are not

           that did not          allocate liabili amon
claims; (c) the Judgment is not valid or enforceable because it was obtained through fraud or
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collusion between the Insured and the Judgment Creditor; and (d) the Judgment is otherwise not
valid or enforceable.

         (4)   Exemption. Enter on the line below any amounts or property claimed by the Debtor
to be exempt from execution.

N/A.

       (5) Adverse Interest. Enter on the line below any amounts claimed by other persons by
reason of ownership or interest in the Debtor's property.

None known.

         (6)    Enter on the line below the total of lines (3), (4) and (5)

$0.

        (7) Enter on the line below the difference obtained (never less than zero) when line (6)
is subtracted from the sum of lines (l) and (2).

$0.

         (8)  Enter on the line below 110 percent of the amount of the creditor's claim which
remains unpaid.

s3.300.000.00

         (9)    Enter on the line below the lesser of line (7) and line (8). You are hereby instructed
to retain this amount only if it is $10 or more.

$0

                                          AFFIRMATION

      I, Henry Nicholls, am the Gamishee or I am authorized by the Garnishee to complete this
Non-Earnings Disclosure, and have done so truthfully and to the best of my knowledge.



                                                                 i ,..'   ,.'\,j
Dated:          91221202r                                    I


                                                        Henry.trtricholls
                                                        AssiStant General Counsel, Litigation
                                                       Financial Lines
                                                       American International Group, Inc.
                                                       28 Liberty Street, 22"d FToor
                                                       New York, NY 10005
                                                       Telephone: (212) 458-1493

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 STATE OF MINNESOTA                                                 DISTRICT OF MINNESOTA

 COI.'NTY OF HENNEPIN                                            FOURTH JUDICIAL DISTRICT

                                                                   Court File No. 27-CV-20-5065
 Richard Enrico,                                                             Judge: Edward Wahl
               Plaintiff / Judgment Creditor,


                                                             Judgment Amount: $3,000,000.00
 AOM Holdings, LLC,                                           Unpaid Balance: S3,000,000.00
                  Defendant / Judgment Debtor,               Judgment Entered: July 12,2021

 and

 AIG Specialty Insurance Company,
                  Gamishee.

                                    AFFIDAVIT OF SERVICE


        I, Theresa N. Cooke, state that I am at least 18 years of age and that on Septemb er 22,2021,
I serued the paper(s) listed below upon the party or parties listed below by causing a true and
correct copy of each document to be placed in an envelope addressed as shown below and by
having the envelope(s) deposited, with sufficient postage, in the United States Mail Post Office
located in the City of Minneapolis in the State of Minnesota.
       Documents:
       1.        Non-Earnings Gamishment Disclosure Fotm; and
       2.        Affidavit of Service.

       Pafties
 Mark R. Bradford                                  John Harper III
 Bassford Remele                                   Joshua A. Hasko
 100 South 5th Street, Suite 1500                  Messerli & Kramer, P.A.
 Minneapolis, l"{}I 55402                          100 South Fifth Street, Suite 1400
                                                   Minneapolis, MN 55402

 David R. Marshall                                 AOM Holdings, LLC
 Leah C. Janus                                     16355 36th Avenue Nofth, Suite 700
 Rachel L. Dougherty                               Plymouth, MN 55446
 Fredrikson & Byron, P.A.
 200 South Sixth Street, Suite 4000
 Minneapolis, MN 55402
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Ideclare under penalty of perjury that everything that   I have   stated in this document is true and
correct. Minn. Stat. $ 358.116.

Dated: September 22, 202I                          /s/Theresa N. Cooke
Hennepin County, Minnesota                          Legal Administrative Assistant
                                                    Winthrop & Weinstine, P.A.
                                                    225 South Sixth Street, Suite 3500
                                                    Minneapolis, MN 55402
                                                    Tel: 612-604-6400
                                                    Email: tcooke@winthrop.com
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                EXHIBIT F


    TO DECLARATION OF MARK R. BRADFORD
IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE
      TO MAKE AIG A PARTY AND TO FILE A
          SUPPLEMENTAL COMPLAINT
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                                                                                            Filed in District Court
                                                                                              State of Minnesota
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STATE OF MINNESOTA                                                        DISTRICT COURT

COUNTY OF HENNEPIN                                           FOURTH JUDICIAL DISTRICT

                                                                Court File No. 27-CV-20-5065
Richard Enrico,
                                                                       Judge: Edward T. Wahl
        Plaintiff / Judgment Creditor,

v.
                                                   SUPPLEMENTAL COMPLAINT
AOM Holdings, LLC,                                     IN GARNISHMENT

        Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

        Garnishee.



       Plaintiff and Judgment Creditor, Richard Enrico (“Enrico”), as and for his Supplemental

Complaint in Garnishment against Garnishee AIG Insurance Company (“AIG), hereby states and

alleges as follows:

                                          PARTIES

       1.      Enrico is the Creditor in this matter. Enrico is an individual who resides in

Hennepin County, Minnesota.

       2.      AOM Holdings, LLC (“AOM”) is the Debtor in this matter. AOM is a limited-

liability company established under Minnesota law. AOM’s principal business address is:

               16355 36th Avenue North
               Suite 700
               Plymouth, MN 55446

       3.      AIG is a Garnishee in this matter. Upon information and belief, AIG’s principal

business address is:
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                175 Water Street
                New York, NY 10038

                                  FACTUAL BACKGROUND

       4.       On February 28, 2020, Enrico commenced a lawsuit against AOM in Hennepin

County District Court, Fourth Judicial District, State of Minnesota, captioned Richard Enrico v.

AOM Holdings, LLC, Court File No. 27-CV-20-5065 (“the Lawsuit”). Enrico alleged in the

Lawsuit that AOM negligently misrepresented certain information in connection with the sale of

Class B Units to Enrico.

       5.       Enrico sought damages in the Lawsuit that included compensatory damages,

applicable interest, costs, and attorneys’ fees substantially in excess of $3,000,000.00.

       6.       AIG insured AOM under consecutive two-year “Directors, Officers and Private

Company Liability Insurance” policies in effect from November 8, 2016 to November 8, 2020

(“the AIG Policies”).

       7.       The AIG Policies, by their terms, provided coverage to indemnify AOM from and

against any claim made against AOM for damages arising out of “any actual alleged act, breach

of duty, neglect, error, misstatement, misleading statement, or omission” by AOM.

       8.       The indemnity provisions in the AIG Policies apply to (and cover) the claims

asserted against AOM in the Lawsuit.

       9.       The AIG Policies also state that AIG “shall, in accordance with and subject to

Clause 7 of this D&O Coverage Section, advance Defense Costs of such Claim prior to its final

disposition.”

       10.      AOM tendered Enrico’s claims in the Lawsuit to AIG and sought coverage from

AIG in a timely fashion.


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       11.     AIG refused to advance defense costs to AOM, refused to agree to indemnify AOM

for the claims asserted in the Lawsuit, and refused to participate in settlement negotiations on

behalf of AOM. Instead, AIG denied coverage to AOM for the claims asserted in the Lawsuit.

       12.     Despite repeated requests AOM made to AIG to reconsider its position, AIG

refused and reaffirmed its coverage denial.

       13.     After several months of litigation, Enrico and AIG agreed to settle the Lawsuit

pursuant to the principles articulated in Miller v. Shugart, 316 N.W.2d 729 (Minn. 1982) and its

progeny. The parties entered into a Miller-Shugart settlement agreement on June 30, 2021,

pursuant to which AOM stipulated to the entry of judgment against it in the amount of

$3,000,000.00.

       14.     The Miller-Shugart settlement specified that AOM “has agreed to accept the

Judgment in the sum of $3,000,000.00 as a good-faith assessment of the liability and damage

claims of Plaintiff for his negligent misrepresentation cause of action.”

       15.     On July 8, 2021, the Court entered judgment against AOM in the amount of

$3,000,000.00 pursuant to the Miller-Shugart settlement agreement.

                                              COUNT I

               (Versus AIG for Amount of Underlying Judgment Plus Interest)

       16.     Enrico incorporates the allegations set forth in Paragraphs 1 through 15, inclusive,

as though fully set forth herein.

       17.     The negligent misrepresentation cause of action Enrico asserted against AOM in

the Lawsuit—and the corresponding judgment entered against AOM on that claim—is covered

under the AIG Policies.

       18.     No exclusions in the AIG Policies preclude coverage.

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       19.     The Miller-Shugart settlement agreement was a reasonable resolution of the

negligent-misrepresentation claim asserted in the Lawsuit.

       20.     AIG is therefore liable, as garnishee, to pay the full amount of the judgment entered

against its insured, AOM, in the underlying litigation, plus accrued interest.

       WHEREFORE Plaintiff and Judgment Creditor Richard Enrico prays for a judgment

against AIG Specialty Insurance Company as follows:

       1.      For $3,000,000.00 plus accrued interest; and

       2.      For such other and further relief as the Court deems just and proper under the facts,
               circumstances, and law.

                                   ACKNOWLEDGEMENT

       The party upon whose behalf this pleading is submitted, by and through the undersigned,

hereby acknowledges that sanctions may be imposed for a violation of Minn. Stat. § 549.211.




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           BASSFORD REMELE
           A Professional Association

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STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF HENNEPIN                                               FOURTH JUDICIAL DISTRICT

                                                                   Court File No. 27-CV-20-5065
Richard Enrico,
                                                                          Judge: Edward T. Wahl
         Plaintiff / Judgment Creditor,

v.

AOM Holdings, LLC,                                              [PROPOSED]
                                                                  ORDER
         Defendant / Judgment Debtor,

and

AIG Specialty Insurance Company,

         Garnishee.


        The above-captioned matter came before the Honorable Edward Wahl, Judge of Hennepin

County District Court, on Plaintiff / Judgment Creditor Richard Enrico’s motion, pursuant to Minn.

Stat. § 571.75, Subd. 4, to make AIG Specialty Insurance Company a party to this matter, and for

leave to file a Supplemental Complaint. Appearances were noted on the record.

        Now, therefore, based upon all the files, records, and proceedings herein, the Court makes

the following:

                                             ORDER

     1. Plaintiff / Judgment Creditor Richard Enrico’s motion is GRANTED;

     2. Pursuant to Minn. Stat. § 571.75, Subd. 4, AIG Specialty Insurance Company is made a
        party to this action;

     3. Plaintiff / Judgment Creditor Richard Enrico is hereby granted leave to file a Supplemental
        Complaint.

                                              BY THE COURT:


                                              ____________________________________
